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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

 TEXAS MEDICAL ASSOCIATION, et al.,               )
                                                  )
                  Plaintiffs,                     )
                                                  )
 v.                                               )
                                                  )
 UNITED STATES DEPARTMENT OF                      )
 HEALTH AND HUMAN SERVICES, et al.,               )
                                                  ) Case No.: 6:22-cv-00372
                 Defendants.                      )
                                                  ) Lead Consolidated Case
                                                  )
                                                  )
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                                                  )
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                                                  )
                                                  )

                   [PROPOSED] ORDER GRANTING PLAINTIFFS’
                      MOTION FOR SUMMARY JUDGMENT

      Before the Court is plaintiffs’ motion for summary judgment. Being fully advised in the

premises, the Court finds that the motion should be GRANTED.

      It is therefore ORDERED that the motion is hereby GRANTED and the following

provisions are hereby VACATED:

          a. The word “then” in 45 C.F.R. § 149.510(c)(4)(iii)(B); the entirety of 45 C.F.R.

             §§ 149.510(c)(4)(iii)(E) and (c)(4)(iv); and the final sentence of 45 C.F.R.

             § 149.510(c)(4)(vi)(B);


          b. The word “then” in § 26 C.F.R. § 54.9816-8(c)(4)(iii)(B); the entirety of 26 C.F.R.

             § 54.9816-8(c)(4)(iii)(E) and (c)(4)(iv); and the final sentence of 26 C.F.R.

             § 54.9816-8(c)(4)(vi)(B); and


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           c. The word “then” in 29 C.F.R. § 2590-716-8(c)(4)(iii)(B); the entirety of 29 C.F.R.

               § 2590-716-8(c)(4)(iii)(E) and (c)(4)(iv); and the final sentence of 29 C.F.R.

               § 2590-716-8(c)(4)(vi)(B).


        It is further ORDERED that in any future rules, guidance, or other actions concerning the

IDR process, the Departments may not (i) instruct arbitrators to place any greater weight on the

QPA than on the other statutory factors, (ii) condition arbitrators’ consideration or weighing of the

other factors upon any additional findings relating to the QPA, or (iii) impose on arbitrators any

administrative burdens that are conditioned upon arbitrators’ relying on factors other than the QPA

or selecting the offer farther from the QPA.

        SO ORDERED.



Date:                                                         ________________________

                                                              Hon. Jeremy D. Kernodle
                                                              United States District Judge




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